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                  Exhibit A
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND



 MARYLAND; et al.,

                Plaintiffs,

         V.                                               C.A. No. H

 United States Department of Agriculture; et al.,

                Defendants.



                              DECLARATION OF PORTIA Y. WU

       I, PORTIA Y. WU, declare as follows:


       1.      I am a resident of the State of Maryland. I am over the age of 18 and have

personal knowledge of all the facts stated herein, except to those matters stated upon information

and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

testify competently to the matters set forth below.

       2.      I am currently employed by the Maryland Department of Labor as the Secretary

of Labor.

       3.      The Maryland Department of Labor (MD Labor) is responsible for connecting

Marylanders to good jobs; protecting workers, consumers, and the public; supporting Maryland

businesses; and fostering economic growth and competitiveness. The Department administers a

wide range of federally funded workforce and training programs, including but not limited to

those authorized by the Workforce Innovation and Opportunity Act (WIOA), that are vital to

Maryland's economic stability and workforce development. The Department is the designated


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state agency for oversight and coordination of federally required Rapid Response activities in the

state.

         4.    As Secretary of Labor, I have access to comprehensive reports and financial

records that detail the state of Maryland's labor market, including claims for unemployment

benefits, and the allocation and distribution of federal funding received by the Maryland

Department of Labor. Additionally, my role includes oversight of the implementation and

compliance of federally funded programs within the agency, ensuring all expenditures align with

federal guidelines and regulations.

         5.    According to our Department's most recent analysis, there are an estimated

160,000 federal civilian jobs located in Maryland and approximately 250,000 individuals reside

in Maryland who work in federal civilian service. This includes workers stationed in the District

of Columbia who commute from their Maryland residence, and multiple federal agencies that are

physically located in the state. The average annual earnings for federal civilian jobs in Maryland

is nearly $127,000. At least seven Maryland counties have more than 10,000 residents employed

by the federal government.

         6.      For example, Montgomery County is home to several large federal agencies,

such as the National Institutes for Health (which has approximately 18,000 jobs located in

Maryland) and the Food and Drug Administration (which has approximately 13,000 jobs located

in Maryland). Baltimore County is home to the Social Security Administration (which has about

9,000 jobs located in Maryland) and the Centers for Medicare & Medicaid Services (which has

nearly 4,000 jobs located in Maryland).




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       7.      Furthermore, official estimates of the federal workforce in Maryland undercount

the number of potentially impacted jobs due to the heavy presence of classified positions, such as

at the National Security Agency located in Anne Arundel County.

       8.      Maryland is also home to a significant military presence, hosting over a dozen

military installations. According to the most recent statistics from the Department of Defense,

there were 29,564 active-duty military personnel and an additional 17,988 national guard/reserve

personnel stationed in Maryland as of June 2024 for a total of 47,552 military personnel. Top

branches of the military represented in Maryland include 9,701 active-duty Navy personnel,

8,468 active duty Air Force personnel, and 7,822 active duty Army personnel.

Rapid Response Expenditures

       9.      The Maryland Department of Labor is the designated state agency with

responsibility for oversight and coordination of statewide Rapid Response activities, required by

29 U.S.C. § 3174(a)(2)(A) undertaken to provide immediate assistance to Marylanders subject to

mass layoffs. Per 20 C.F.R. § 682.302, the State Workforce Agency must deliver Rapid

Response services for mass layoffs that meet the agency's definition of mass layoff, as long as

the definition does not exceed a minimum threshold of 50 affected workers. In Maryland, "mass

layoff' is defined as a layoff from work of 25 or more workers in a single establishment for an

expected duration of 7 days or more, at the same time, and for the same reason.

       10.     The Maryland Department of Labor oversees state rapid response effort, as

required by both the federal Workforce Innovation and Opportunity Act 29 U.S.C.

§ 3174(a)(2)(A), and Maryland's Economic Stabilization Act, see Md. Ann. Code Labor and

Employment, § 11-303-304 (referred to as "quick response program").




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       11.     Rapid Response activities are intended to reduce reliance on public benefit

systems, such as unemployment insurance; to promote economic recovery and vitality by

developing an ongoing, comprehensive approach to identify, plan for, and respond to layoffs and

dislocations; and to prevent or minimize the impact of mass layoffs on workers, businesses, and

communities.


       12.     Pursuant to both federal and state regulations and policies, when properly notified

of a qualifying event Maryland deploys a coordinated Rapid Response "team" comprised of the

Department's Dislocated Services Unit (DSU), and Division of Unemployment Insurance staff,

as well as personnel from the state's 13 Local Workforce Development Areas (formal

subrecipients under WIOA Title I) and the Professional Outplacement Assistance Center.

Collaboratively, these partners are required to provide informational resources and

reemployment services for workers, including information and support for filing Unemployment

Insurance (UI) claims, information regarding health coverage or other benefits, information on

and referral to career services, reemployment-focused workshops and services, and occupational

training.

        13.    In addition, the DSU is responsible for contacting affected employers to collect,

verify, and distribute information regarding impact on workers so that services can be rapidly

deployed. Rapid Response teams, in coordination with the DSU and other listed partners,

coordinate directly with employers, workers, and relevant partner organizations to provide rapid

support and referrals to the American Job Centers located in the affected jurisdictions to provide

support for the affected workers. The Division of Unemployment Insurance will mobilize to

streamline and expedite the processing of unemployment claims.




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       14.     Rapid Response partners also facilitate connections to partner agencies and

organizations to ensure their ability to provide timely assistance to terminated workers and their

families, such as home heating assistance, legal aid, and financial advice. Pursuant to 5 U.S.C. §

3502(d)(3)(A)(i), the federal government is required to provide written notice to Maryland, or

"the State or entity designated by the State to carry out rapid response activities under section

134(a)(2)(A) of the Workforce Investment Act of 1998" of a plan for a reduction-in-force (RIF)

of federal employees, generally at least 60 days in advance of any proposed RIF. This period

may only be shortened upon written notice and in no event shall be less than 30 days. 5 U.S.C. §

3502(e)(3). This notice is to be provided at the same time the federal government issues specific

notices of separation to employees.

       15.     That notice must include the number of employees to be separated from the

agency/agencies, and the effective date of the separations, as well as other information required

by the U.S. Office of Personnel Management. The notice required by 5 U.S.C. § 3502(d)(3)(A) is

intended to trigger Rapid Response activities, since it is explicitly to be given to the state entity

required to carry out rapid response activities.

       16.     The Maryland Department of Labor has not received the required advance notice

of a federal reduction in force from any federal agency with locations in the state. Nor, to the

best of my knowledge, has any other entity in the Maryland State Government received notice of

a federal reduction in force.

        17.     Yet, as detailed more below, the Maryland Department of Labor has already

received at least 813 claims by ex-federal employees for unemployment benefits since January

21, 2025. The Department is also aware of public announcements of significant layoffs at




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Maryland and D.C.-located federal agencies, including the Social Security Administration and

Department of Veterans Affairs.

       18.     The Department of Labor has also seen a significant uptick of new

Unemployment Insurance claims of ex-federal employees just in the last few weeks, with an

approximate range of 30 to 60 new such claims every day.

       19.     In light of these claims and public reporting about ongoing and forthcoming

federal layoffs, in order to comply with federal and state obligations, Departmental personnel

have contacted dozens of federal agencies and offices to seek information as to whether mass

layoffs are being conducted currently or are being planned in the future.

       20.     The Division of Workforce Development and Adult Learning, the unit within the

Department that administers the Rapid Response program, along with other statewide partners at

the county and municipal level, have not received any substantive response as to these agencies'

plans for mass layoffs.

       21.     Because the Department has received no notice of federal RIFs, despite extensive

outreach, we are dedicating significantly more staff, resources, and expenditures to fulfill our

statutory obligation.

       22.     Indeed, because we have not received the statutorily required advance notice of

which agencies are planning to conduct mass layoffs, the Department has been forced to rely on

public reporting and word-of-mouth to conduct after-the-fact outreach to potentially affected

workers. Reacting after a layoff is far more resource-intensive than the advance planning and

assistance process required by law.




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       23.       As referenced above, Department staff have conducted extensive affirmative

outreach to federal agencies and offices to try and determine the location and extent of upcoming

layoffs.

       24.       Moreover, the Department of Labor has had to devote significant additional staff

time from fiscal, communications, grant management, operational and administrative, and policy

teams to conduct broad-based outreach to try and identify recently terminated employees, to

attempt to provide relevant resources and services rapidly.

       25.       While Rapid Response activities are generally funded through federal

appropriations under WIOA Title I, the additional burden of responding and the related expenses

has required the Department to divert multiple staff from important state projects.

       26.       For example, several individuals in the Department's Office of the Secretary and

Office of Administration have been diverted from working on state matters to handle the federal

response. Such state matters that are being affected through the diversion of staff include

occupational and professional licensing oversight, financial regulation, state

workforce development programs, and matters related to other non-federally funded activities of

the Maryland Department of Labor.

           27.   In addition, other Department personnel have been diverted from state-funded

workforce development projects, including the Employment Advancement Right Now

("EARN") program, which is a Maryland's premiere workforce development grant initiative

serving over 5,000 constituents annually.

           28.   However, such staff have been instead dedicated to reacting to the latest layoff

news, trying to identify the affected federal agency and ex-employees, provide information, and




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otherwise adjust procedures and resources to assist confused and unemployed Marylanders in a

complicated and rapidly evolving environment.

       29.     As just one example of these efforts, Department staff created a new website,

requiring significant time and expense, see Maryland Workers Impacted by Recent Federal

Actions, https://response.maryland.gov/federalpublicservants/. This effort was a further attempt

to provide resources and services, which could normally be targeted at specific personnel

impacted in future layoff events, but must instead be provided less efficiently and at greater

expense to the entire public, because our personnel remain unaware of whether and when the

next federal mass layoff event will occur, and who has been impacted and is in need of support.

       30.     In sum, every day that goes by, the Department is devoting significant time,

resources, and expense to simply try and identify workers subject to federal mass layoffs,

conduct mass outreach, and otherwise make resources available to potentially affected

individuals in new ways, all because federal agencies have failed to provide us the legally

required notice of mass layoffs.

Unemployment Assistance Process

       31.     The Maryland Department of Labor also manages claims for unemployment

benefits by individuals formerly employed to work in Maryland.

       32.     The Unemployment Compensation Law of Maryland (Title 8 of the Maryland

Code, Labor and Employment Article in its entirety), enacted in 1936, provides insurance

benefits, over an extended period of time, to persons who become unemployed through no fault

of their own. Md. Code Ann. Lab. & Empl. Art. §8-102(d).

        33.    As a general matter, the federal Government is required to reimburse Maryland

for unemployment benefits provided to former federal employees. Specifically, Maryland is



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party to an agreement with the United States Secretary of Labor, wherein the Maryland

Department of Labor pays, as an agent of the United States, Unemployment Compensation for

Federal Employees ("UCFE") pursuant to 5 U.S.C. § 8502(a).

       34.     Pursuant to 5 U.S.C. § 8502(b), Maryland is reimbursed for UCFE payments to

federal employees in the same amount, on the same terms, and subject to the same conditions

which would be payable to them under Maryland Unemployment Compensation Law.

       35.     In addition, the Maryland Department of Labor administers its federal-state

cooperative unemployment insurance program, financed in large part by grants from the federal

government pursuant to the Social Security Act. 42 U.S.C. §§ 501-503.

       36.     The Maryland Unemployment Insurance Compensation Program, certified by the

U.S. Secretary of Labor under 42 U.S.C. §502(a), provides for payment of insurance benefits for

up to twenty-six (26) weeks to persons who find themselves unemployed through no fault of

their own. Md Code. Ann. Lab. & Empl. §§ 8-201-223, 8-801, 8-808, 8-901-910, 1001-1009.

       37.     While the federal Government provides grants for the purpose of administrating

state unemployment benefit programs, these grants are frequently less than the total

administrative costs incurred by Maryland. And that is the case now; the federal grant monies

allocated to Maryland are not sufficient to adequately cover our unemployment benefit program

administration.

       38.     In these circumstances, Maryland relies on its Special Administrative Expense

Fund (SAEF) when federal funding is insufficient. See Md. Code Ann., Labor & Employment

§§ 8-419 to 842. This fund may be comprised of previously transferred federal funds (in limited

circumstances), as well as monies collected by the state through fines, interest, and other

penalties, and contributions by the state legislature. Id. § 8-421. Currently, SAEF is comprised



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entirely of state funds. Accordingly, any increase in administrative costs of our unemployment

benefits program will be covered at least in part by state funds.

       39.       Pursuant to Md. Code Ann. Lab. & Empl. § 8-805(a), an individual in Maryland

who wishes to collect unemployment insurance benefits must file a claim in accordance with

regulations adopted by the Maryland Secretary of Labor.

       40.       Claimants file claims online using the Department's system to assert a claim

initially and to provide information to indicate the basis of the claim, the name of the claimant's

previous employer, the reason for her separation, work experience, and other relevant

information. Md. Code Regs. § 09.32.02.05.

       41.       The reason for termination alleged by the claimant is then transmitted to the

claimant's employer(s) for verification. The employer is then asked to furnish a report of the

separation from employment containing, inter alia, the reason for the employee's separation and

a report of wage history. Md. Code Ann. Lab. & Empl. § 8-627; see also Md. Code Regs.

§ 09.32.02.05.

       42.       There are various reasons why a claimant may be ineligible for, or disqualified

from, receiving benefits. As a baseline, to be eligible for unemployment benefits, the individual

must be unemployed. Md. Code. Ann. Lab. & Empl. § 8-801(a). A person is considered

unemployed during any week they: (1) do not perform work for which wages are payable; or (2)

work less than full-time and earn wages less than their assigned weekly benefit amount. Md.

Code. Ann. Lab. & Empl. § 8-801(b). However, a part-time worker is not considered

unemployed if they are working all the hours they are available for. Md. Code. Ann. Lab. &

Empl. § 8-801(c).




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       43.     Additionally, a claimant is ineligible if they did not earn requisite wages within

the first four of the last five completed calendar quarters, or alternatively the four most recent

calendar quarters, before their claim is filed. Md. Code. Ann. Lab. & Empl. §§ 8-101(b) and 8-

802.

       44.     Maryland law disqualifies some claimants from benefits depending on the

circumstances of their separation from employment. See Md. Code Ann. Lab. & Empl. § 8-

1001, et seq. A claimant is disqualified if they quit their job without good cause directly related

to employment conditions or employer actions. Md. Code Ann. Lab. & Empl. § 8-1001(a).

Other disqualifying circumstances include, inter alia, termination for misconduct, aggravated

misconduct, and gross misconduct. Id.

       45.     A claims examiner at the Maryland Department of Labor is charged with making

an initial determination on the claim. Md. Code. Ann. Lab. & Empl. §8-806(a)(1).

       46.     If a determination involves a resolution of a dispute of material fact, the claims

examiner must conduct a predetermination fact-finding interview after notice is provided to the

employee and her employer(s). Md. Code. Ann. Lab & Empl. § 8-806(a)(2); Md. Code Regs.

09.32.02.16E. At the fact-finding proceeding, conducted by the claims examiner, the parties can

offer evidence and argument, cross-examine witnesses, and otherwise develop an administrative

record. Md. Code Regs. § 09.32.02.16E.

        47.      Thereafter, a written initial determination must be made stating, inter alia, the

weekly benefit amount, maximum benefits payable to the claimant in a benefit year, and the

reasons for the determination. Md. Code Ann. Lab. & Empl. § 8-806(c).

        48.     If the claims examiner's review of a claim reveals no dispute of material fact, but

the information reviewed indicates that claimant may be ineligible or disqualified, the claims



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examiners must still schedule a call for an appointment for a fact-finding interview and render a

written decision. Md. Code Regs. 09.32.02.16(D) and (E).

       49.     A claimant or an employer may file an administrative appeal within 15 days. Lab.

& Empl. § 8-806(e)(1).

Unemployment Benefits Recent Experience and Investigatory Process

       50.     The Department of Labor's latest data indicates that at least 813 former federal

employees have applied for unemployment benefits since January 21, 2025.

       51.     As noted above, the number of UCFE claims has increased significantly in just

the last few weeks, starting on or around February 14, 2025.

       52.     In fact, the amount of UCFE claims received by the Maryland Department of

Labor since January 21, 2025, is significantly higher than past years. By way of example, from

January 21, 2024, to March 3, 2024, we received only 189 unemployment claims containing

federal wages in the claimant's base period.

       53.     While not required to apply for unemployment benefits, multiple individuals have

attached in their application their letter of employment termination from the federal government.

Such letters indicate that these individuals were probationary employees purportedly terminated

for cause.

       54.     When an employer provides the initial report of separation to the Department, the

employer must indicate the reason for the separation, including whether the employee was fired

for cause, such as misconduct.

       55.     Accordingly, if an employer states in its report of separation that an individual

was terminated because performance has not been adequate to justify further employment at the




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Agency, the Maryland Department of Labor's procedures require that the claims examiner must

investigate the reason for discharge.

       56.     The Maryland Department of Labor is required to verify both wages and reason

for separation of employment from each federal agency by sending a request for wage and

separation information. 20 C.F.R. §§ 609.6(e)(1), 609.21 through 609.25. While private

employers report wages each quarter for all employees into the Department's database, see Code

Md. Regs. § 09.32.01.12, federal agencies are not required to regularly report active employee

wages to the States.

       57.     The same Department staff who handle regular unemployment claims also

process and adjudicate UCFE claims. Redirecting staff from regular Unemployment Insurance

(UI) claims to process and adjudicate Unemployment Compensation for Federal Employees

(UCFE) claims threatens to strain our resources - especially because the lack of notice denied the

Department the opportunity to educate potential claimants on claims filing, certification of work

search, and other matters. Lack of claimant awareness of program processes and requirements

has historically led claimants to compliance errors affecting their entitlement to benefits absent

extensive work by Department staff to fix issues with their claims.

       58.     This diversion of personnel will undoubtedly impede the timely processing of

regular UI claims, creating significant backlogs and delays. The consequences will be far-

reaching, affecting countless individuals who depend on swift resolutions to sustain their

livelihoods. By diverting resources, we compromise the efficiency and responsiveness of our

claims processing system, ultimately undermining public trust and exacerbating economic

hardship.




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       59.     While the Department of Labor is only beginning to process these claims, our

staff has already begun the process of contacting relevant federal agencies to request information

on relevant terminations, to determine if they were in fact done for cause.

       60.     Thus far, we have received at least 193 reports of separation from federal

agencies, concerning their recently terminated employees.

       61.     Several of the reports gave as a reason for termination only that there was a

"permanent lack of work due to a change in Presidential Administration."

       62.     In addition, the Department received several reports from federal agencies

explicitly stating that the employees were "laid off due to a reduction in force." Such reports

were received from multiple federal agencies not disclosed here out of an abundance of caution

to preserve privacy.

       63.     And, as relevant here, certain reports asserted that the employee at issue was

terminated for cause, for instance due to "unsatisfactory work performance" and similar generic

performance-related bases.

       64.     Similarly, other reports highlighted various potentially disqualifying

circumstances. For instance, agencies indicated that claimants might not be genuinely

unemployed or had voluntarily resigned from their positions.

       65.     These reports were received from multiple federal agencies not disclosed here out

of an abundance of caution to preserve privacy.

       66.     Yet at the same time, termination letters, as well as recent statements of the

President and other federal officials, indicate that the overwhelming majority of recent federal

terminations were not for-cause firings, based on individualized assessments of performance, but




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instead constitute a Government-wide effort to shrink the size of the federal workforce, an

effective reduction in force.

       67.     Where federal agencies assert that certain individual federal employees were

terminated for cause or are otherwise ineligible or disqualified from benefits, or where there is

disputed or conflicting information, our Department will be required to follow an intensive and

mandatory investigative process for those unemployment claims.

       68.     Department staff, due to regulatory requirements, must treat these separations as

potential misconduct firings. This necessitates extensive investigations and fact-finding, leading

to a considerable drain on resources and time, and adds delay to the benefit process.

       69.     The procedures impose a significant strain on the Maryland Department of

Labor's financial and temporal resources. Each case demanding interviews and/or a fact-finding

proceeding necessitates extensive staff hours for scheduling, conducting interviews, reviewing

evidence, and drafting detailed decisions. The need to send notices, accommodate witness

testimony, and facilitate cross-examination further escalates the time commitment. Moreover, the

potential for subsequent appeals triggers a cascade of additional hearings and reviews, diverting

resources from other essential departmental functions.

        70.    Moreover, where federal agencies fail to provide responses to requests for

separation information, the onus is on the Department to gather necessary wage and separation

information. 20 C.F.R. § 609.6 (e)(2). This requires claims staff to solicit evidence from the

claimants in the form of pay stubs, W-2s and affidavits and to pay benefits based on that

information. In fact, recent federal guidance regarding federal unemployment during recent

government shutdowns encourages states to have claimants file an affidavit, using available

proof, given "limited federal HR resources" to respond to requests for separation information.



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"Unemployment Insurance Program Letter 03-22," U.S. Department of Labor, November 2022,

https://vvww.dol.gov/sites/dolgov/files/ETA/advisories/0IPL/2021/UIPL 03-22.pdf.

        71.    Further, payment to large numbers of claimants without employer verification

was a direct cause of thousands of erroneous overpayments during the COVID-19 pandemic -

causing the Department to investigate, issue overpayment determinations, and litigate appeals.

        72.     Additionally complicating matters, it has come to our attention that termination

notices issued by federal agencies were not issued in compliance with governing reduction in

force procedures. It is apparent that there are affected individuals, including veterans, who

should have been accorded preference under required RIF procedures but were not. To the

extent that preferences and other requirements would have precluded termination, and federal

employees successfully challenge their separations, this will cause the Department to re-

adjudicate claims, pursue overpayments, and conduct appeals.

        73.    As noted above, because current federal appropriations are insufficient to fully

support our unemployment benefits program, Maryland is already relying on state SAEF monies

to cover the difference. Further administrative burdens and strain imposed by administrative

investigations will therefore likely require additional state funds.

       74.     The cumulative effect of these investigations translates to substantial expenditures

on personnel, administrative overhead, and the technological infrastructure required to manage

the burgeoning caseload, ultimately depleting the department's budget and hindering its ability to

address other critical labor-related issues.

                                               Executed on March 6, 2025, at Annapolis, Maryland.




                                                 PAirtia Y. Wu

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